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                                      UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF CALIFORNIA
                                            SACRAMENTO DIVISION

           In re:                                                      Case No. 22-20527-A-13C
                    CHARLES GILBERT LEONARD, Jr.

                               Debtor(s)


                    CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

                  David P. Cusick, chapter 13 trustee, submits the following Final Report and Account of the
           administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:

                    1) The case was filed on 03/08/2022.

                    2) The plan was confirmed on NA .

                    3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
           NA .

                    4) The trustee filed action to remedy default by the debtor in performance under the plan on
           NA .

                    5) The case was dismissed on 05/24/2022.

                    6) Number of months from filing or conversion to last payment: 10.

                    7) Number of months case was pending: 12.

                    8) Total value of assets abandoned by court order: NA .

                    9) Total value of assets exempted: $11,500.00.

                    10) Amount of unsecured claims discharged without full payment: $0.00.

                    11) All checks distributed by the trustee relating to this case have cleared the bank .




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            Receipts:

                       Total paid by or on behalf of the debtor             $8,866.00
                       Less amount refunded to debtor                           $0.00

            NET RECEIPTS:                                                                                   $8,866.00


            Expenses of Administration:

                Attorney’s Fees Paid Through the Plan                                 $791.74
                Court Costs                                                             $0.00
                Trustee Expenses & Compensation                                       $345.78
                Other                                                                   $0.00
            TOTAL EXPENSES OF ADMINISTRATION:                                                               $1,137.52

            Attorney fees paid and disclosed by debtor:                      $0.00


            Scheduled Creditors:
            Creditor                                         Claim        Claim         Claim       Principal     Int.
            Name                                Class      Scheduled     Asserted      Allowed        Paid        Paid
            AT T                             Unsecured        2,700.00          NA            NA           0.00      0.00
            Barton HealthCare System         Unsecured        5,000.00          NA            NA           0.00      0.00
            Citi Mortgage                    Unsecured       52,000.00          NA            NA           0.00      0.00
            CMRE Financial                   Unsecured          235.00          NA            NA           0.00      0.00
            FAY SERVICING LLC                Secured        660,000.00   662,794.41    662,794.41      7,728.48      0.00
            FAY SERVICING LLC                Secured         83,935.69    83,935.69     83,935.69          0.00      0.00
            FRANCHISE TAX BOARD              Unsecured             NA          0.00          0.00          0.00      0.00
            INTERNAL REVENUE SERVICE         Unsecured             NA          0.00          0.00          0.00      0.00
            INTERNAL REVENUE SERVICE         Priority              NA      1,110.00      1,110.00          0.00      0.00
            Liberty Utilities                Unsecured        1,600.00          NA            NA           0.00      0.00
            Renown Regional Medical Center   Unsecured       16,000.00          NA            NA           0.00      0.00
            SOUTH TAHOE REFUSE CO INC        Unsecured          260.00       387.25        387.25          0.00      0.00
            SOUTHWEST GAS CORPORATION        Unsecured             NA      1,053.87      1,053.87          0.00      0.00
            STPUD                            Unsecured          400.00          NA            NA           0.00      0.00




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            Summary of Disbursements to Creditors:
                                                                         Claim            Principal           Interest
                                                                       Allowed                Paid               Paid
            Secured Payments:
                  Mortgage Ongoing                                 $662,794.41           $7,728.48              $0.00
                  Mortgage Arrearage                                $83,935.69               $0.00              $0.00
                  Debt Secured by Vehicle                                $0.00               $0.00              $0.00
                  All Other Secured                                      $0.00               $0.00              $0.00
            TOTAL SECURED:                                         $746,730.10           $7,728.48              $0.00

            Priority Unsecured Payments:
                   Domestic Support Arrearage                             $0.00                $0.00            $0.00
                   Domestic Support Ongoing                               $0.00                $0.00            $0.00
                   All Other Priority                                 $1,110.00                $0.00            $0.00
            TOTAL PRIORITY:                                           $1,110.00                $0.00            $0.00

            GENERAL UNSECURED PAYMENTS:                               $1,441.12                $0.00            $0.00

            Disbursements:

                    Expenses of Administration                              $1,137.52
                    Disbursements to Creditors                              $7,728.48

            TOTAL DISBURSEMENTS :                                                                        $8,866.00


                   12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
           estate has been fully administered, the foregoing summary is true and complete, and all administrative
           matters for which the trustee is responsible have been completed. The trustee requests a final decree be
           entered that discharges the trustee and grants such other relief as may be just and proper .

           Dated: 03/15/2023
                                                         By:/s/ David P. Cusick
                                                                                     Trustee
           STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
           exemption 5 C.F.R. § 1320.4(a)(2) applies.




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